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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                           CASE NUMBER
 KALOUD, INC.
                                                                          CV 15-03706-RGK (PJWx)
                                            PLAINTIFF(S)
                  v.
 SHISHA LAND WHOLESALE, INC.
                                                                    JUDGMENT ON THE VERDICT
                                                                       FOR THE PLAINTIFF(S)
                                          DEFENDANT(S).



       This action came on for jury trial, the Honorable R. GARY KLAUSNER                           District
Judge, presiding, and the issues having been duly tried and the jury having duly rendered its verdict,

         IT IS ORDERED AND ADJUDGED that the plaintiff(s):
KALOUD, INC.




recover of the defendant(s):
SHISHA LAND WHOLESALE, INC.




the sum of $1,200,000.00                                             , with interest thereon at the legal rate as
provided by the law, and its costs of action, taxed in the sum of                            .

                                                             Clerk, U. S. District Court



Dated: 07/11/2016                                            By S. Williams
                                                               Deputy Clerk

At: Los Angeles, CA



cc: Counsel of record

CV-49 (05/98)                      JUDGMENT ON THE VERDICT FOR THE PLAINTIFF(S)
